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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                               :
                                                       :       CRIMINAL ACTION
                 v.                                    :
                                                       :
LAUREN HANDY                                           :       NO. 1:22-cr-00096CKK

    DEFENDANT LAUREN HANDY’S REPLY IN SUPPORT OF EMERGENCY MOTION
             FOR RECONSIDERATION OF ORDER OF DETENTION
                   PENDING IMPOSITION OF SENTENCE

          The Government’s Response ignores the Supreme Court’s most recent case addressing the

categorical rule and wrongly applies the “modified categorical approach” by conflating the ele-

ments of the crime with the means of committing the crime.

          The Supreme Court made clear in United States v. Taylor that “[t]he only relevant question

is whether the federal felony at issue always requires the government to prove--…as an element

of its case—the use, attempted use, or threatened use of force.” 142 S. Ct. 2015, 2020 (2022)

(emphasis added). The Court thus held that attempted Hobbs Act robbery—which prohibits at-

tempted robbery by actual or threatened force, among other means—is not a crime of violence

(which includes attempted use of force) because “there will be cases, appropriately reached by a

charge of attempted robbery, where the actor does not actually harm or even threaten harm.” Id.

(internal quotes omitted). Critically, the Supreme Court rejected Justice Alito’s dissenting position

that regardless, because the Hobbs Act allegedly contains alternative elements that do require at-

tempted use of actual force, the Court should have at least applied the modified categorical ap-

proach and looked to the actual record. Id. 142 S. Ct. at 2034-36 (Alito, J., dissenting). 1




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    Defendant’s Motion unintentionally cited this as Justice Thomas’s dissent, not Justice Alito’s.
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       Accordingly, Taylor means what it says, and the FACE Act is not a crime of violence be-

cause it does not always require the government to prove “use, attempted use, or threatened use of

force against the person or property of another” as an element of its case, because the Act itself

expressly contemplates that there are ways of violating the statute that do not involve force or any

sort of violence. 18 U.S.C. § 248(a)(1) (distinguishing physical obstruction from force); §

248(b)(2) (recognizing FACE can be violated by exclusively nonviolent physical obstruction).

       Even assuming the modified categorical rule applies, the Government ignores the critical

distinction between means and elements of a crime. The modified categorical approach applies

only where the conviction at issue involves different elements, not different means. “[A] means,

or (as we have called it) ‘non-elemental fact,’ is by definition not necessary to support a convic-

tion.” Mathis v. United States, 579 U.S. 500, 515 (2016) (cleaned up). It is “clear that a court may

not look behind the elements of a generally drafted statute to identify the means by which a de-

fendant committed a crime.” Id. at 516. That is precisely what the Government asks this Court to

do.

       However, the FACE Act is clear that physical obstruction and force are alternative means of

intentionally injuring, interfering with, or intimidating one from obtaining/providing or because

they obtained/provided reproductive health services; they are not separate elements. 18 U.S.C. §

248(a)(1). This conclusion is supported by the verdict form, which asked the jury whether Defend-

ants were guilty of violating FACE “either” by force or physical obstruction. As even the Govern-

ment concedes, FACE can “be violated by using either force or physical obstruction.” Doc. 395 at

2. Moreover, interfering with abortion access via these separate means carries the same general

punishment, subject to a reduced penalty authorized in a separate subsection regarding sentencing,

not the elements of the crime itself. See 18 U.S.C. § 248(b)(2). Accordingly, the modified




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categorical approach does not apply (to the extent it survives Taylor), and the Government need

not always prove as an element the use, attempted use, or threat of force to prove a FACE violation.

       This conclusion is only supported by the Eighth Circuit’s decision in United States v. Hari.

67 F.4th 903 (8th Cir. 2023). In Hari, the Court was dealing with expressly different crimes enu-

merated in two entirely different subsections. The subsection the Hari Court analyzed (18 U.S.C.

§ 247(a)(2)), prohibited obstruction of one’s free exercise of religion “by force or threat of force,”

without providing any other alternative means of violation. 67 F.4th at 907 and n.2. Here FACE

prohibits the relevant interfere by force, threat of force, or physical obstruction as a single element

within subsection (a)(1) of § 248. The problem of trying to shoehorn FACE into the “crime of

violence” framework is highlighted with the defense raised in Hari–that the charged crimes did

not require proof of a “use of physical force against the person or property of another.” The jury

here was charged merely that Defendant must have used either “used force or physical obstruc-

tion,” not that either of those were directed against the person or property of another, as required

for a “crime of violence” under 18 U.S.C. § 3156(a)(4)(A). See Jury Instructions, at 36. Hari sup-

ports Defendant, insofar as it applies here.

       Moreover, even were the Court to accept the Government’s invitation to look beyond the

elements of the crime, which it should not do, the “force” prong of FACE does not match up with

the “physical force against . . . another” required for a “crime of violence.” The Supreme Court

has defined “physical force” under “crime of violence” to mean “force capable of causing physical

pain or injury in another person.” Johnson v. United States, 559 U.S. 133, 140. But at least one

U.S. Circuit Court has expressed that “force” in FACE prohibits even “de minimis” contact with

another. New York v. Griepp, 991 F.3d 81, 124 (2d Cir.), reh'g granted and opinion vacated sub

nom. People v. Griepp, 997 F.3d 1258 (2d Cir. 2021), and on reh'g sub nom. New York by James v.




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Griepp, 11 F.4th 174 (2d Cir. 2021) (indicating that even though the panel decision had been va-

cated, individual judges on that panel still believed FACE could apply to such “de minimis” contact

but that they merely deferred to the district court’s contrary conclusion there). And here, the jury

was instructed that “‘force’ [includes] power . . . exerted upon . . . a person or property.” Jury

Instructions, at 36. This fact is even more stark in view of the second element of FACE, which

allows the jury to find a violation if the defendant merely intended to “interfere with” another, even

if she does not intend or cause any injury. 18 U.S.C. § 248(a)(1) (emphasis added). Accordingly,

FACE is not a “crime of violence,” and Ms. Handy should be immediately released from custody.

                                                      Respectfully submitted,

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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 31st day of August 2023, I electronically filed the foregoing Reply

with the Clerk of Court using the CM/ECF system, which will send an electronic notification of such

filing to all counsel of record.

                                                /s/Stephen M. Crampton
                                                Stephen M. Crampton




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